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                          UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     MARK ANTHONY ANDERSON
                                                   Case No. 19-10888-KHK

                            Debtor

                             MOTION TO DISMISS,
                        NOTICE OF MOTION TO DISMISS
                                   AND
                NOTICE OF SCHEDULED HEARING ON THIS MOTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this motion to dismiss your Chapter
     13 case. The cause for this motion is as follows:
            Pursuant to 11 U.S.C. §1307 and to Local Rule 3002.1-1

                   Trustee’s Statement was filed on April 16, 2024 (Docket No. 99), and
                    Debtor has not filed the certification required under L.R. 3002.1-1(A).
                   Counsel has not noticed the secured creditor's Responses filed May 7,
                    2024 for hearing as required by Local Rule 3002.1-1 (B).

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the motion, or if you
     want the court to consider your views on the motion, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1. Unless a written response and supporting
            memorandum are filed and served by the date specified, the Court may deem
            any opposition waived, treat the motion as conceded, and issue an order
            granting the requested relief without further notice or hearing. If you mail your
            response to the court for filing, you must mail it early enough so the court will
            receive it on or before twenty-one days from the service of this notice. You
            must mail a copy to the persons listed below.
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     Notice and Motion to Dismiss
     Mark Anthony Anderson, Case #19-10888-KHK


     Attend the hearing to be held on July 18, 2024 at 1:30 p.m., in Courtroom III on the
     3rd floor, United States Bankruptcy Court, 200 South Washington Street, Alexandria,
     VA 22314. If no timely response has been filed opposing the relief requested, the court
     may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   1414 Prince Street, Suite 202
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314

            If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion and may enter an order granting that relief.

     Date: _June 10, 2024_____                           __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
                                                         Chapter 13 Trustee
                                                         1414 Prince Street, Suite 202
                                                         Alexandria, VA 22314
                                                         (703) 836-2226
                                                         VSB 26421

                                CERTIFICATE OF SERVICE

     I hereby certify that I have this 10th day of June, 2024, served via ECF to authorized
     users or mailed a true copy of the foregoing Motion to Dismiss, Notice of Motion and
     Notice of Hearing to the following parties.

     Mark Anthony Anderson                        Nathan Fisher, Esq.
     Chapter 13 Debtor                            Attorney for Debtor
     1411 Admiral Drive                           Fisher-Sandler, LLC
     Woodbridge, VA 22192                         3977 Chain Bridge Rd. #2
                                                  Fairfax, VA 22030

                                                         __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
